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                                           United States District Court                                                      PILE §
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                         *7 JAN-9 PM 3* 14,
                UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN iPM
                           V.                                                  (For Offenses Committed On or After November
                   GERARDO BAKER (01)                                                                           sm
                                                                                  Case Number:         16CR1332-AJB-01

                                                                               Victor Manuel Torres
                                                                               Defendant’s Attorney
REGISTRATION NO.                       57180298
      Correction of Sentence for Clerial Mistake (Fed. R. Crim. P. 36)

THE DEFENDANT:
M pleaded guilty to count(s)                  One of the Superseding Indictment

□ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                 Count
Title & Section                           Nature of Offense                                                                    Number(s)
.18:371                                   .Conspiracy                                                                              Is




     The defendant is sentenced as provided in pages 2 through    ___                    4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)
[El Count(s)         Remaining Counts                                    are         dismissed on the motion of the United States.

       Assessment: $100.00



IEI Fine waived            □ Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.
                                                                          f December 19^016
                                                                                Date of Imposition of Sentence


                                                                               EiJON. ^ANTHONY J. BATTAGLIA
                                                                                UNITED STATES DISTRICT JUDGE



                                                                                                                            16CR1332-AJB-01
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                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □     The court makes the following recommendations to the Bureau of Prisons:
 □



       The defendant is remanded to the custody of the United States Marshal.
 □
       The defendant shall surrender to the United States Marshal for this district:
 □
       □ at                                 A.M.              on
       □     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 □     Prisons:
       □     on or before
       □     as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                        , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                    16CR1332-AJB-01
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                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS

     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
            The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
□           substance abuse. (Check, if applicable.)
            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
IHI         Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
□           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
            The defendant shall participate in an approved program for domestic violence. (Check if applicable.)
□
            If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
       Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                           STANDARD CONDITIONS OF SUPERVISION
       1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)  the defendant shall support his or her dependents and meet other family responsibilities;
       5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
           reasons;
       6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
           unless granted permission to do so by the probation officer;
       10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
           observed in plain view of the probation officer;
       11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
           the court; and
       13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance
           with such notification requirement.


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                               SPECIAL CONDITIONS OF SUPERVISION



   1. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
      Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
      contraband or evidence of a violation of a condition of release; failure to submit to a search may be grounds
      for revocation; the defendant shall warn any other residents that the premises may be subject to searches
      pursuant to this condition.

   2. Provide complete disclosure of personal and business financial records to the probation officer as
      requested.

   3. Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly
      or indirectly, including any interest obtained under any other name, or entity, including a trust, partnership
      or corporation until the fine or restitution is paid in full.

   4. Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property
      owned, directly or indirectly, including any interest held or owned under any other name, or entity,
      including a trust, partnership or corporation.

   5. Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines
      of credit without approval of the probation officer.

   6. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.




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                                            RESTITUTION

The defendant shall pay restitution in the amount of    $17,500.00           unto the United States of America.


Pay restitution in the amount of $17,500, to IRS, through the Clerk, U.S. District Court.


Payment of restitution shall be forthwith. During any period of incarceration the defendant shall pay restitution
through the Inmate Financial Responsibility Program at the rate of 50% of the defendant’s income, or $25.00
per quarter, whichever is greater. The defendant shall pay the restitution during his supervised release at the
rate of $150 per month. These payment schedules do not foreclose the United States from exercising all legal
actions, remedies, and process available to it to collect the restitution judgment.

Until restitution has been paid, the defendant shall notify the Clerk of the Court and the U.S. Attorney’s Office
of any change in the defendant’s mailing or residence address, no later than thirty (30) days after the change
occurs.




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